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 1   TOMIO B. NARITA (SBN 156576)
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 5   San Francisco, CA 94104-4816
     Telephone: (415) 283-1000
 6
     Attorneys for Defendant
 7   Intero Real Estate Services
 8

 9                                 UNITED STATES DISTRICT COURT

10                              NORTHERN DISTRICT OF CALIFORNIA

11
     RONALD CHINITZ, individually, and on               CASE NO. 5:18-cv-05623-BLF
12   behalf of a class of similarly situated persons,
13
                                                        DECLARATION OF TOMIO B. NARITA
                                                        IN SUPPORT OF DEFENDANT’S
14                          Plaintiff,                  OPPOSITION TO PLAINTIFF’S
                                                        MOTION FOR APPROVAL OF CLASS
15   vs.                                                NOTICE PLAN FOR RULE 23(b)(3)
16
                                                        NATIONAL DNC CLASS

17   INTERO REAL ESTATE SERVICES,                       Date: November 19, 2020
                                                        Time: 9:00 a.m.
18                                                      Courtroom: 3, 5th Floor
                            Defendant.
19
                                                        The Honorable Beth Labson Freeman
20

21

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     CHINITZ v. INTERO REAL ESTATE SERVICES (CASE NO. 5:18-cv-05623-BLF)
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 1   I, Tomio B. Narita, declare as follows:

 2          1.       I am a partner of Simmonds & Narita LLP, counsel of record of Defendant Intero
 3
     Real Estate Services (“Intero”) in this matter. I make this declaration based upon my personal
 4
     knowledge, and if called as a witness, I could and would testify competently to its contents.
 5

 6
            2.      I have reviewed Plaintiff Ronald Chinitz’s Motion for Approval of Class Notice

 7   Plan for Rule 23(b)(3) National DNC Class (“the Motion”) and the Declaration of Cameron R.

 8   Azari, Esq. that Plaintiff filed in support of the Motion. See Doc. Nos. 131 & 131-1. In the
 9
     Motion, Plaintiff referenced a “Class List” that he claims is in the parties’ possession. See Doc.
10
     No. 131 at ECF pp. 6-8, 11. Mr. Azari also testified that the parties “possess a list of telephone
11

12
     numbers at which Class Members were called” which he refers to as the “Class List.” See Doc.

13   No. 131-1, ¶ 11. Prior to the filing of the Motion, however, no document described as a “Class

14   List” had ever been provided to Intero.
15
            3.      On September 2, 2020, I emailed Plaintiff’s counsel and requested that they
16
     promptly provide us with the purported “Class List.” Plaintiff’s counsel failed to respond for
17

18
     over a week, so I sent a follow up email on September 10, 2020. True and correct copies of my

19   emails are attached hereto as Exhibit 1 (Question No. 1).

20          4.      On September 10, 2020, Plaintiff’s counsel responded and stated for the first time
21
     that the “Class List” was an Excel file “VERKHOVS000024 LN_Output_LN_ndncr.csv.”
22
     Plaintiff did not produce that file to Intero until late in the evening on May 29, 2020, the date that
23

24
     he filed his Reply in Support of the Motion for Class Certification. A true and correct copy of

25   Plaintiff’s counsel’s email is attached hereto as Exhibit 2 (Question No. 1 – red text).

26          5.      I have reviewed the file “VERKHOVS000024 LN_Output_LN_ndncr.csv” and it
27
     does not contain names, physical addresses, or email addresses for any of the phone numbers
28


     CHINITZ v. INTERO REAL ESTATE SERVICES (CASE NO. 5:18-cv-05623-BLF)
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 1   contained therein. Rather, it contains only a list of telephone numbers, along with columns

 2   indicating values for “Startdate,” “Enddate,” “BusResGov,” “firstseen,” and “lastseen.”
 3
            6.      In my September 2, 2020 email to Plaintiff’s counsel, I requested Plaintiff identify
 4
     the name and contact information for the “third party” that will be used to perform the tasks
 5

 6
     described by Mr. Azari, including the “reverse lookups” discussed in paragraph 15 of his

 7   declaration. See Exhibit 1 (Question No. 3). Plaintiff’s counsel responded to me on September

 8   10, 2020, stating “I’m not certain that Mr. Azari has identified the third party yet” and that the
 9
     third party “may not be selected until after we know for sure that our plan will be adopted.” See
10
     Exhibit 2 (Question No. 3 – red text).
11

12
            7.      On September 14, 2020, I responded to Plaintiff’s counsel’s September 10, 2020

13   email. I explained that it was critical that the Court know the identity of the third party that

14   Plaintiff claims will perform “reverse lookups” in order to be able to assess the qualifications of
15
     the third party. A true and correct copy of my email is attached hereto as Exhibit 3 (Question
16
     No. 3 – green text). Thereafter, Plaintiff’s counsel stated that TransUnion will perform the
17

18
     “reverse lookups.”

19          8.      In my September 2, 2020 email to Plaintiff’s counsel, I asked how the class

20   administrator would handle situations where multiple names, addresses, and email addresses are
21
     returned for a phone number as part of the “reverse lookup” process. Specifically, I asked how
22
     Plaintiff and the administrator would decide who will receive notice. See Exhibit 1 (Question
23

24
     No. 6). Plaintiff responded that “notice would go to each person identified.” See Exhibit 3

25   (Question No. 6 – red text). In other words, Plaintiff’s proposed solution when different names

26   are associated with the telephone number in the different data sources is to simply to send notice
27
     to any person listed in the Mojo calling records or the “reverse lookup” data, regardless of
28
     whether or not they are a class member.
     CHINITZ v. INTERO REAL ESTATE SERVICES (CASE NO. 5:18-cv-05623-BLF)
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 1          9.      On September 26, 2020, I sent Plaintiff’s counsel another email that outlined

 2   Intero’s positions regarding the parties’ various disputes relating to the Motion. Among other
 3
     things, I explained that if email is going to be used as part of the notice plan, Intero believes that
 4
     the class administrator can and should confirm whether the email was, in fact, clicked on and
 5

 6
     opened by the recipient. I explained that unlike regular email, it is possible to determine whether

 7   an email was clicked on and opened. As a result, if notice is attempted via email and the parties

 8   know that the email was never opened, Intero believes that the class administrator should mail a
 9
     postcard to that person. On September 30, 2020, Plaintiff’s counsel responded and stated that
10
     Plaintiff would not agree to use a read receipt tool. He claimed that doing so would “would
11

12
     result in email notice being held to a standard regular mail is not.” A true and correct copy of the

13   email exchange is attached hereto as Exhibit 4. The portions discussed in this paragraph can be

14   found under the heading “Email vs. Mail Notice”.
15
            10.     I have reviewed Attachment 2, Attachment 3, Attachment 4, Attachment 5, and
16
     Attachment 6 to Mr. Azari’s declaration. Intero has redlined its proposed changes to these
17

18
     attachments. Intero believes its proposed language is a more accurate recitation of the

19   allegations, positions of the parties, and the law. In addition, Intero believes that class members

20   should be able to exclude themselves by visiting the website designated for the case. Intero
21
     believes that requiring exclusion by mailed letter only is too restrictive.
22
                        a. Attachment 2 is Plaintiff’s proposed Email Notice. See Doc. No. 131-1, ¶
23

24
                            18. Attached hereto as Exhibit 5 is the Email Notice with Intero’s

25                          proposed revisions.

26                      b. Attachment 3 is Plaintiff’s proposed Postcard Notice. See Doc. No. 131-1,
27
                            ¶ 18. Attached hereto as Exhibit 6 is the Postcard Notice with Intero’s
28
                            proposed revisions.
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 1                      c. Attachment 4 is Plaintiff’s proposed Long Form Notice. See Doc. No.

 2                          131-1, ¶ 18. Attached hereto as Exhibit 7 is the Long Form Notice with
 3
                            Intero’s proposed revisions.
 4
                        d. Attachment 5 contains “[e]xamples of the proposed Banner Notices” that
 5

 6
                            Mr. Azari states will appear “on selected advertising networks that Class

 7                          Members may visit regularly.” Doc. No. 131-1, ¶¶ 27, 29. Intero

 8                          proposes the following revision: insert “goods or services of” between
 9
                            “promoting” and “Intero Real Estate Services.”
10
                        e. Attachment 6 is Plaintiff’s proposed National Informational Press Release.
11

12
                            See Doc. No. 131-1, ¶ 31. My office was not able to provide Intero’s

13                          redlines to this attachment because Plaintiff did not provide me a Word

14                          version. The language appears to track Attachment 2 and, therefore,
15
                            Intero propose the same changes identified in Exhibit 5 above.
16
            11.     Intero remains willing to continue meet and confer efforts with Plaintiff to try and
17

18
     resolve the disputed aspects of Plaintiff’s notice plan. In particular, Intero believes the parties

19   may be able to reach agreements concerning the language in Attachments 2 through 6.

20          I declare under penalty of perjury that the foregoing is true and correct. Executed at San
21
     Francisco, California, on this 15th day of October, 2020.
22

23                                                          /s/ Tomio B. Narita
24
                                                            Tomio B. Narita

25

26

27

28


     CHINITZ v. INTERO REAL ESTATE SERVICES (CASE NO. 5:18-cv-05623-BLF)
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                                                 Exhibit 1
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From:                                  Tomio Narita
Sent:                                  Thursday, September 10, 2020 8:36 AM
To:                                    Hassan Zavareei; Michael Reese; Sabita Soneji
Cc:                                    Travis Campbell; Maggie Cardasis; Tomio Narita
Subject:                               RE: Chinitz v. Intero - meet and confer re: Class Notice
                                       Plan


Hassan, I don’t believe we have received a response to this email. Can we expect one? Thank
you.

Tomio B. Narita
Simmonds & Narita LLP
44 Montgomery Street, Suite 3010
San Francisco, California 94104
Direct line (415) 283.1010
Mobile (415) 519.6093
Main Line (415) 283.1000
Fax (415) 352.2625
email: tnarita@snllp.com
www.snllp.com
www.fdcpadefense.blogspot.com


From: Tomio Narita <TNarita@snllp.com>
Sent: Wednesday, September 2, 2020 6:15 PM
To: Hassan Zavareei <hzavareei@tzlegal.com>; Michael Reese <mreese@reesellp.com>; Sabita Soneji
<ssoneji@tzlegal.com>
Cc: Travis Campbell <TCampbell@snllp.com>; Maggie Cardasis <MCardasis@snllp.com>; Tomio Narita
<TNarita@snllp.com>
Subject: Chinitz v. Intero - meet and confer re: Class Notice Plan

Hassan, thank you for agreeing to the stipulation to extend Defendant’s time to respond to t he
Plaintiff’s motion to approve the Rule 23 class notice plan, and for inviting us to meet and
confer regarding the issues raised by the motion. We’d like to confer about the following
issues/requests:

Mr. Azari testified that the parties “possess a list of telephone numbers at which Class
Members were called” which he refers to as the “Class List” and he claims the parties have the
“possible physical addresses for approximately half of the Class List and possible email
addresses for approximately 15% of the Class List.” See Azari Decl., ¶¶ 10-11. Defendant
does not have this list. Our expert John Taylor testified in his declaration and in his report that
                                                       1
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he was not able to locate the alleged list of 68,918 NDNCR telephone numbers in the
documents produced by your client’s expert, nor could he derive it from the Mojo calling
records. Will you agree to promptly provide us with the Class List as described in Mr. Azari’s
declaration?

We also need to know the dates of the allegedly violative call attempts made to each of the
phone numbers on the Class List. This data was never produced by your client’s
expert. Among other things, this data will confirm whether the call attempts were made
within the Class Period, whether the call attempts were made within a 12-month period of
each other, and that the call attempts appear in one of the 35 Mojo accounts identified by the
Court’s order. Will Plaintiff agree to provide us with the dates of the allegedly violative calls
made to the numbers on the Class List?

Mr. Azari testified that a “third party” will perform the reverse lookups to: 1) “identify whether
an available associated email address exists for each telephone number”; and 2) if no email
address can be located, “the most likely current physical mailing address for the Class
Member”? See Azari Decl ¶ 15. Will you agree to identify the name and contact information
for the “third party” that will be used to perform the tasks described by Mr. Azari?

Will you agree to provide us with a copy of all data or documents that will be supplied to the
third party by Mr. Azari?

Can you provide us more detail about the process the third party plans to use to identify the
names, email address and the physical address associated with Class Members? Will the third
party be looking for the contact information that was associated with the telephone numbers
at the time the alleged calls were made by the Intero sales associates? Or will they only
attempt to locate current names, physical address and email addresses associated with the
telephone numbers?

What if there are multiple names, addresses and email addresses returned to the third party
as part of the “reverse lookup” process? How will the administrator decide which name,
address and/or email address to use to send notice?

Will Plaintiff commit to provide us with a copy of all output files and other data generated by
the third party as it is performing the reverse lookup process?

Please send us Word versions of Attachments 2 through 6 to Mr. Azar’s declaration so that we
can provide Defendant’s proposed redlines.

What “easy-to-remember domain name” does Plaintiff plan to use? Motion p. 6:1

                                                2
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Will any steps be taken to determine whether the recipient of an email actually opens the
email? Will Plaintiff commit to returning this data to us?

In paragraph 33 of the Mr. Azari’s declaration, he states that class members will be able to
enter their telephone phone number into the class website to see how many calls were made
to the number. Can you explain what data will be used when those searches are run by class
members, and will you provide us with that data?

Can you tell us more about how a national press release (Azari Decl ¶ 31) will assist in notifying
class members? The calls at issue were allegedly made by California sales associates seeking
to solicit business in California, so a national press release does not appear to be useful.

Can you tell us more about how a “banner advertisement” on Intero’s website (Motion p. 9:2-
4) will assist in notifying class members? Members of the class are, according to Plaintiff,
persons who did not want to receive calls from Intero’s sales associates. We do not
understand why they would have any reason to visit Intero’s website.

We look forward to hearing from you.

Tomio B. Narita
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                                                3
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                                               Exhibit 2
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From:                                     Kristen Simplicio <ksimplicio@tzlegal.com>
Sent:                                     Thursday, September 10, 2020 3:25 PM
To:                                       Tomio Narita; Travis Campbell; Maggie Cardasis
Cc:                                       Hassan Zavareei; Sabita Soneji; Mark Clifford; V Prentice;
                                          Michael Reese; George Granade
Subject:                                  Chinitz v. Intero - meet and confer re: Class Notice Plan
Attachments:                              03 - Intero Real Estate Class Notice - Attachment 2 to Ex.
                                          A - Email Notice.docx; 04 - Intero Real Estate Class
                                          Notice - Attachment 3 to Ex. A - Postcard Notice.docx;
                                          05 - Intero Real Estate Class Notice - Attachment 4 to Ex.
                                          A - Long Form Notice.docx; Chinitz v. Intero TCPA -
                                          Banner Notices - 8 19 20.pdf


Tomio,

Hassan asked me to send along our responses to your questions of September 2. Our answers to your questions below
in red. In reviewing, please note that while we are happy to work with you on designing a comprehensive notice
program that will comport with due process, some of your questions seemed less focused on class notice and more
focused on the merits of the litigation. While our offer to work with you to try to eliminate disagreement still stands, we
are not going to allow this to turn into a redo of previous discovery and expert disputes. If we have misunderstood your
goals in asking for the information, we are happy to get on a call to understand what you need so we can try to agree to
a fair notice plan that satisfies due process.

Mr. Azari testified that the parties “possess a list of telephone numbers at which Class
Members were called” which he refers to as the “Class List” and he claims the parties have the
“possible physical addresses for approximately half of the Class List and possible email
addresses for approximately 15% of the Class List.” See Azari Decl., ¶¶ 10-11. Defendant
does not have this list. Our expert John Taylor testified in his declaration and in his report that
he was not able to locate the alleged list of 68,918 NDNCR telephone numbers in the
documents produced by your client’s expert, nor could he derive it from the Mojo calling
records. Will you agree to promptly provide us with the Class List as described in Mr. Azari’s
declaration?

While it is not clear to us why Mr. Taylor was not able to re-create the list of phone numbers
from the data provided, the Class List of 68,918 NDNCR telephone numbers was produced on
May 30, 2020 in Bates No. VERKHOVS000024.


                                                             1
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The possible physical addresses and email addresses associated with the telephone numbers
in the Class List are located in the other data produced by Mojo, which Mojo produced on
January 16, 2020, and Plaintiff produced to Intero on January 21, 2020 (Bates Nos. MOJO-
Intero 0000498-MOJO-Intero 0000677). To determine the approximate percentage of
telephone numbers associated with possible contact information in the parties’ possession for
class notice purposes, we completed a cross-check in-house of the 68,918 telephone numbers
in the Class List with the contact data in the files produced by Mojo. If you arrive at a
different result, let us know.

We also need to know the dates of the allegedly violative call attempts made to each of the
phone numbers on the Class List. This data was never produced by your client’s
expert. Among other things, this data will confirm whether the call attempts were made
within the Class Period, whether the call attempts were made within a 12-month period of
each other, and that the call attempts appear in one of the 35 Mojo accounts identified by the
Court’s order. Will Plaintiff agree to provide us with the dates of the allegedly violative calls
made to the numbers on the Class List?

As we have repeatedly made clear (and as the Court has ruled), such a list was not previously
generated as a separate file. In order to advance the notice process, however, we are in the
process of generating that list. Because discovery has closed, we are willing to provide you the
list for purposes of analyzing and responding to class notice (and later, post-trial claims
administration) purposes only, which is how we intend to use it. If you would like to use it for
litigation purposes, such as for summary judgment or the preparation of a supplemental
expert report, we will only agree to produce it if you agree we may do the same, i.e. refer to it
in briefing and in any rebuttal report to a supplemental report by your expert. Let us know
how you wish to use it and we’ll prepare a stip. If neither of those options are of interest, why
don’t you let us know what specifically you need to know about this list for purposes of
assuring your client that notice will comport with due process, and we will see what
compromise we can work out.

Mr. Azari testified that a “third party” will perform the reverse lo okups to: 1) “identify whether
an available associated email address exists for each telephone number”; and 2) if no email
address can be located, “the most likely current physical mailing address for the Class
Member”? See Azari Decl ¶ 15. Will you agree to identify the name and contact information
for the “third party” that will be used to perform the tasks described by Mr. Azari?

I’m not certain that Mr. Azari has identified the third party yet, as claims administrators use a
variety of vendors. This may be subject to a bidding process, and may not be selected until
after we know for sure that our plan will be adopted. If you have a vendor your client prefers
to use, please let us know. If there are other concerns about the vendor selection proce ss, can
you identify them and we can discuss?
                                                 2
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Will you agree to provide us with a copy of all data or documents that will be supplied to the
third party by Mr. Azari?

Again, this process may occur after the court hears this motion. Other than the documents
identified in response to the first two questions, are there other documents you believe you
need to see to evaluate whether our notice proposal comports with due process?

Can you provide us more detail about the process the third party plans to use to identify the
names, email address and the physical address associated with Class Members? Will the third
party be looking for the contact information that was associated with the telephone numbers
at the time the alleged calls were made by the Intero sales associates? Or will they only
attempt to locate current names, physical address and email addresses associated with the
telephone numbers?

We need to confirm with the claims administrator, but it is our understanding that they will be
looking for both. As noted in paragraph 15, they will have the Mojo records, which as you
know, contain possible names and contact information for the various phone numbers at the
time the calls were made. Reverse look ups will be done on all the numbers, and Mojo contact
data in the parties’ possession may be utilized as a backup or cross-reference for the reverse
lookups. That said, we welcome your thoughts on this process.

What if there are multiple names, addresses and email addresses returned to the third party
as part of the “reverse lookup” process? How will the administrator decide which name,
address and/or email address to use to send notice?

To ensure the most comprehensive notice possible, the administrator proposes that notice go
to each person identified (see paragraph 16). That ensures the broadest possible reach.

Will Plaintiff commit to provide us with a copy of all output files and other data generated by
the third party as it is performing the reverse lookup process?

This work will not be done until after the court has approved it. We will not pay for this
process until we know the plan been approved. If there is specific information you need to
respond to the motion, or concerns you have, please identify them for our consideration. We
will not produce these files after notice has been completed for use during litigation. Post- trial,
we can meet and confer about the relevance of these files for purposes of claims
administration and challenging of class membership. If you wish to pay for the costs of notice,
you would be entitled to have this information.


                                                 3
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Please send us Word versions of Attachments 2 through 6 to Mr. Azar’s declaration so that we
can provide Defendant’s proposed redlines. Attached are 2-4, and 6. Attachment 5 is a
collection of image files, but a clean PDF is attached.

What “easy-to-remember domain name” does Plaintiff plan to use? Motion p. 6:1

It has not yet been selected, but if you have a proposal, please let us know. It will likely be
something like www.InteroCallsLawsuit.com or www.InteroDoNotCallClass.com.

Will any steps be taken to determine whether the recipient of an email actually opens the
email? Will Plaintiff commit to returning this data to us?

With respect to the first part, we will discuss with our claims administrator on what
technologies they have to determine whether an email has been read. Is this something that
your client has decided is a necessary element to a notice plan based on email?

With respect to the second part, the read receipts will happen long after the motion for notice
has been decided, so it has no relevance to your client’s ability to oppose the motion. Is there
a specific concern you have about email notice that we can try to address now?

In paragraph 33 of the Mr. Azari’s declaration, he states that class members will be able to
enter their telephone phone number into the class website to see how many calls were made
to the number. Can you explain what data will be used when those searches are run by class
members, and will you provide us with that data?

That data is the data described in response to the second question.

Can you tell us more about how a national press release (Azari Decl ¶ 31) will assist in notifying
class members? The calls at issue were allegedly made by California sales associates seeking
to solicit business in California, so a national press release does not appear to be useful.

A national press release is what was recommended by our claims administrator to ensure the
most reach. It is more comprehensive, particularly given that so many consumers obtain news
from national sources and not local media. We can speak with them about a more narrow
release if that is important to your client.

Can you tell us more about how a “banner advertisement” on Intero’s website (Motion p. 9:2-
4) will assist in notifying class members? Members of the class are, according to Plaintiff,
persons who did not want to receive calls from Intero’s sales associates. We do not
understand why they would have any reason to visit Intero’s website.

                                                 4
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We think this is of value to increasing reach, but it is something we are willing to discuss and
compromise on if we can reach agreement on the other elements of the notice.
Let us know if you would like to discuss further.

Thanks,
Kristen

             Kristen G. Simplicio ■ Of Counsel ■ TYCKO & ZAVAREEI LLP ■ www.tzlegal.com
             1828 L Street, NW ■ Suite 1000 ■ Washington, DC 20036
             p 202.973.0900 x109 ■ f 202.973.0950

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                                                                           5
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                                               Exhibit 3
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From:                                     Tomio Narita
Sent:                                     Monday, September 14, 2020 6:51 PM
To:                                       Kristen Simplicio; Hassan Zavareei; Sabita Soneji; Mark
                                          Clifford; V Prentice; Michael Reese; George Granade
Cc:                                       Tomio Narita; Maggie Cardasis; Travis Campbell
Subject:                                  RE: Chinitz v. Intero - meet and confer re: Class Notice
                                          Plan


Kristen, thank you. In an effort to keep the back and forth of our meet and confer efforts
organized, our responses to your comments will appear below, in green. I also took the liberty
of numbering my original questions so we can keep all of the responses relating to the
questions separated. Thank you. Tomio.

Tomio B. Narita
Simmonds & Narita LLP
44 Montgomery Street, Suite 3010
San Francisco, California 94104
Direct line (415) 283.1010
Mobile (415) 519.6093
Main Line (415) 283.1000
Fax (415) 352.2625
email: tnarita@snllp.com
www.snllp.com
www.fdcpadefense.blogspot.com


From: Kristen Simplicio <ksimplicio@tzlegal.com>
Sent: Thursday, September 10, 2020 3:25 PM
To: Tomio Narita <TNarita@snllp.com>; Travis Campbell <TCampbell@snllp.com>; Maggie Cardasis
<MCardasis@SNLLP.com>
Cc: Hassan Zavareei <hzavareei@tzlegal.com>; Sabita Soneji <ssoneji@tzlegal.com>; Mark Clifford
<mclifford@tzlegal.com>; V Prentice <vprentice@tzlegal.com>; Michael Reese <mreese@reesellp.com>; George
Granade <ggranade@reesellp.com>
Subject: Chinitz v. Intero - meet and confer re: Class Notice Plan

Tomio,

Hassan asked me to send along our responses to your questions of September 2. Our answers to your questions below
in red. In reviewing, please note that while we are happy to work with you on designing a comprehensive notice
program that will comport with due process, some of your questions seemed less focused on class notice and more
focused on the merits of the litigation. While our offer to work with you to try to eliminate disagreement still stands, we
are not going to allow this to turn into a redo of previous discovery and expert disputes. If we have misunderstood your

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goals in asking for the information, we are happy to get on a call to understand what you need so we can try to agree to
a fair notice plan that satisfies due process.

    1. Mr. Azari testified that the parties “possess a list of telephone numbers at which Class
       Members were called” which he refers to as the “Class List” and he claims the parties
       have the “possible physical addresses for approximately half of the Class List and
       possible email addresses for approximately 15% of the Class List.” See Azari Decl., ¶¶
       10-11. Defendant does not have this list. Our expert John Taylor testified in his
       declaration and in his report that he was not able to locate the alleged list of 68,918
       NDNCR telephone numbers in the documents produced by your client’s expert, nor
       could he derive it from the Mojo calling records. Will you agree to promptly provide us
       with the Class List as described in Mr. Azari’s declaration?

While it is not clear to us why Mr. Taylor was not able to re-create the list of phone numbers
from the data provided, the Class List of 68,918 NDNCR telephone numbers was produced on
May 30, 2020 in Bates No. VERKHOVS000024.

The possible physical addresses and email addresses associated with the telephone numbers
in the Class List are located in the other data produced by Mojo, which Mojo produced on
January 16, 2020, and Plaintiff produced to Intero on January 21, 2020 (Bates Nos. MOJO-
Intero 0000498-MOJO-Intero 0000677). To determine the approximate percentage of
telephone numbers associated with possible contact information in the parties’ possession for
class notice purposes, we completed a cross-check in-house of the 68,918 telephone numbers
in the Class List with the contact data in the files produced by Mojo. If you arrive at a
different result, let us know.

The Court has certified a class. The Court therefore has an obligation under Fed. R. Civ. P.
23(c)(2)(B) to ensure that members of the class receive the best notice practicable, in light of
the information available to the parties, including individual notice to class members who can
be notified through a reasonable effort. We believe it is imperative that the parties, the class
administrator, and the Court if needed, should all have access to the same information that
will be used as the starting point for the notice process that Plaintiff is asking the Court to
approve. Thus, if Plaintiff performed a “cross-check” of the Mojo calling records in order to
associate the numbers with possible contact information, please provide us with that list so
we are all starting from the same place.

    2. We also need to know the dates of the allegedly violative call attempts made to each of
       the phone numbers on the Class List. This data was never produced by your client’s
       expert. Among other things, this data will confirm whether the call attempts were m ade
       within the Class Period, whether the call attempts were made within a 12-month period
       of each other, and that the call attempts appear in one of the 35 Mojo accounts

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      identified by the Court’s order. Will Plaintiff agree to provide us with the dates of the
      allegedly violative calls made to the numbers on the Class List?

As we have repeatedly made clear (and as the Court has ruled), such a list was not previously
generated as a separate file. In order to advance the notice process, however, we are in the
process of generating that list. Because discovery has closed, we are willing to provide you the
list for purposes of analyzing and responding to class notice (and later, post-trial claims
administration) purposes only, which is how we intend to use it. If you would like to use it for
litigation purposes, such as for summary judgment or the preparation of a supplemental
expert report, we will only agree to produce it if you agree we may do the same, i.e. refer to it
in briefing and in any rebuttal report to a supplemental report by your expert. Let us know
how you wish to use it and we’ll prepare a stip. If neither of those options are of interest, why
don’t you let us know what specifically you need to know about this list for purposes of
assuring your client that notice will comport with due process, and we will see what
compromise we can work out.

Again, the Court is obligated to notify the class that it has certified, and thus the parties and
the Court should have access to the same list and the same data that will be used as the
starting point for the Rule 23(c)(2)(B) notice process. It is irrelevant if the list of allegedly
violative calls and the dates of dial associated with those calls “was not previously generated
as a separate file” as you claim. Ms. Verkhovskaya testified that all the data she used to reach
her opinions still resides on her server, and that it can easily be exported to a file and
produced. She must have run reports with that data, and the reports can be exported to a
file. One such report would have been run to determine the dates of the allegedly violative
calls, and total number of such calls. Otherwise she could not have given the testimony at
paragraph 106 of her report – the very paragraph that the Court relied upon when it issued
the order certifying the class: “In my opinion, there are 68,918 Source Data telephone
numbers that received two or more calls from an Intero Corporate Agent within any 12-
month period when those telephone numbers had been on the NDNCR for at least 31 days
prior, and the Source Data show that the total number of these calls by Intero Corporate
Agents is 349,067. In my opinion, these 68,918 telephone numbers did not include any
business or government telephone numbers.”

We see no reason to agree in advance to place any restrictions on how this data can or should
be used by either of the parties or by the Court. Plaintiff’s expert used this data to opine on
whether or not specific numbers identified in the Mojo records are associated with class
members. Making this data available to all parties and the Court as part of the notice process
is essential to ensuring the notice plan presented by Plaintiff (or the parties, if an agreement
can be reached) comports with due process. Your offer to negotiate with us the terms of a
stipulation that will outline such restrictions is therefore unnecessary and will only slow down
the notice process. Plaintiff, of course, is free to argue in the future that Defendant has
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misinterpreted this data. But there is no reason (and you have provided none) why this
fundamental class data should be withheld.

   3. Mr. Azari testified that a “third party” will perform the reverse lookups to: 1) “identify
      whether an available associated email address exists for each telephone number”; and
      2) if no email address can be located, “the most likely current physical mailing address
      for the Class Member”? See Azari Decl ¶ 15. Will you agree to identify the name and
      contact information for the “third party” that will be used to perform the tasks
      described by Mr. Azari?

I’m not certain that Mr. Azari has identified the third party yet, as claims administrators use a
variety of vendors. This may be subject to a bidding process, and may not be selected until
after we know for sure that our plan will be adopted. If you have a vendor your client prefers
to use, please let us know. If there are other concerns about the v endor selection process, can
you identify them and we can discuss?

We believe the Court cannot approve a notice plan in the form suggested by Plaintiff unless it
knows the identity and qualifications of the entity that will perform the reverse lookup
process. As Mr. Azari’s declaration makes clear, the reverse lookup process is the lynchpin of
Plaintiff’s proposed notice plan. The Court must know who will provide this critical function
and be able to assess their qualifications. After reading Mr. Azari’s declaration, we assumed
he had already identified the vendor that he would use to perform the reverse lookup process.
Defendant does not agree or concede that using a reverse lookup process is an appropriate or
reliable means of identifying and notifying class members. Having said this, Defendant
understands the LexisNexis offers a popular reverse lookup product.


   4. Will you agree to provide us with a copy of all data or documents that will be supplied to
      the third party by Mr. Azari?

Again, this process may occur after the court hears this motion. Other than the documents
identified in response to the first two questions, are there other documents you believe you
need to see to evaluate whether our notice proposal comports with due process?

As stated above, the Court has an obligation under Rule 23(c)(2)(B) to ensure that the notice
plan is appropriate. We believe it is critical that all data used to provide notice to the class be
made available to both parties and the Court if needed so the process can remain
transparent. Is there some reason why Plaintiff wishes to withhold from Defendant and the
Court certain data or documents that may be supplied by Plaintiff to the reverse lookup
vendor?

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   5. Can you provide us more detail about the process the thi rd party plans to use to identify
      the names, email address and the physical address associated with Class Members? Will
      the third party be looking for the contact information that was associated with the
      telephone numbers at the time the alleged calls were made by the Intero sales
      associates? Or will they only attempt to locate current names, physical address and
      email addresses associated with the telephone numbers?

We need to confirm with the claims administrator, but it is our understanding that they will be
looking for both. As noted in paragraph 15, they will have the Mojo records, which as you
know, contain possible names and contact information for the various phone numbers at the
time the calls were made. Reverse look ups will be done on all the numbers, and Mojo contact
data in the parties’ possession may be utilized as a backup or cross-reference for the reverse
lookups. That said, we welcome your thoughts on this process.

Thank you for this response. We ask that you confirm that “they will be looking for both” – i.e.,
that the vendor will be attempting to determine the names, physical addresses and email
addresses of class members as of the dates the allegedly violative calls were made, as well as
current names, physical addresses and email addresses of class members. Assuming your
understanding is correct, this only further illustrates the need for both Defendant and the
Court to have access to the list showing the dates of the allegedly violative calls.

   6. What if there are multiple names, addresses and email addresses returned to the third
      party as part of the “reverse lookup” process? How will the administrator decide which
      name, address and/or email address to use to send notice?

To ensure the most comprehensive notice possible, the administrator proposes that notice go
to each person identified (see paragraph 16). That ensures the broadest possible reach.

Thank you. To clarify, is Plaintiff proposing that notice will be sent to every name, address and
email address that is returned by the reverse lookup process, as well as any name or address
found in the Mojo call records? What if conflicting contact information is found that is
associated with the same telephone number? Will there be no attempt made to determine
who is the correct person that should receive notice? For example, if the reverse lookup
process returns different names and contact information for the same number, or even
multiple names and addresses during the 12-month period when the allegedly violative calls
were made? Will the administrator simply send notice to everyone? And if the contact
information in the Mojo calling records is different, when will that be utilized, as opposed to
the reverse lookup data?


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   7. Will Plaintiff commit to provide us with a copy of all output files and other data
      generated by the third party as it is performing the reverse lookup process?

This work will not be done until after the court has approved it. We will not pay for this
process until we know the plan been approved. If there is specific information you need to
respond to the motion, or concerns you have, please identify them for our consideration. We
will not produce these files after notice has been completed for use during litigation. Post- trial,
we can meet and confer about the relevance of these files for purposes of claims
administration and challenging of class membership. If you wish to pay for the costs of notice,
you would be entitled to have this information.

As explained above, because the Court has an obligation to ensure that notice is given
consistent with the requirements of Rule 23(c)(2)(B), Defendant believes that all aspects of the
notice process should be transparent. We understand that the output files generated by the
reverse lookup vendor will, inter alia, contain the data the vendor used to identify the names,
physical addresses, and email addresses of class members. In other words, these output files
contain the data that will be used to give notice to the class. We do not understand why
Plaintiff is unwilling to make the output files available to Defendant and the Court. Neither
Defendant nor the Court can evaluate whether notice has been effectively given to class
members, consistent with Rule 23(c)(2)(B), without these output files. We ask again that
Plaintiff commit to producing them.


   8. Please send us Word versions of Attachments 2 through 6 to Mr. Azar’s declaration so
      that we can provide Defendant’s proposed redlines.

Attached are 2-4, and 6. Attachment 5 is a collection of image files, but a clean PDF is
attached.

Thank you for this response.


   9. What “easy-to-remember domain name” does Plaintiff plan to use? Motion p. 6:1

It has not yet been selected, but if you have a proposal, please let us know. It will likely be
something like www.InteroCallsLawsuit.com or www.InteroDoNotCallClass.com.

Thank you for this response.




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   10.Will any steps be taken to determine whether the recipient of an email actually opens
      the email? Will Plaintiff commit to returning this data to us?

With respect to the first part, we will discuss with our claims administrator on what
technologies they have to determine whether an email has been read. Is this something that
your client has decided is a necessary element to a notice plan based on email?

With respect to the second part, the read receipts will happen long after the motion for notice
has been decided, so it has no relevance to your client’s ability to oppose the motion. Is there
a specific concern you have about email notice that we can try to address now?

Again, because the Court has an obligation to ensure that the class is notified consistent with
Rule 23(c)(2)(B), we believe the entire process should be transparent so the Court can truly
evaluate whether the plan it ultimately approves will satisfy the Rule. Plaintiff wants the Court
to approve a plan that relies entirely upon giving notice via email, with mailed notice used as a
backup and only if the email is returned, or if no email address can be associated with a
telephone number on the list. But the Court might not believe this notice plan is
reasonable. If, for example, the data gathered by the vendor shows that 90% of the emails
were never opened, the Court may conclude that the requirements of the Rule were not
satisfied. Thus, if email notice is to be utilized, we believe Plaintiff should commit to making
available to the Defendant and the Court all data reflecting whether emails were received and
opened.


   11.In paragraph 33 of the Mr. Azari’s declaration, he states that class members will be able
      to enter their telephone phone number into the class website to see how many calls
      were made to the number. Can you explain what data will be used when those searche s
      are run by class members, and will you provide us with that data?

That data is the data described in response to the second question.

Thank you for this response. If class members are going to be able to enter a telephone
number into the website and see how many calls were made to that number, this means
Plaintiff must have a list that identifies the number of calls to each phone number and dates of
dials for all the allegedly violative calls. As previously stated, we ask that Plaintiff provide us
with all this data.

   12.Can you tell us more about how a national press release (Azari Decl ¶ 31) will assist in
      notifying class members? The calls at issue were allegedly made by California sales
      associates seeking to solicit business in California, so a national press release does not
      appear to be useful.
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A national press release is what was recommended by our claims administrator to ensure the
most reach. It is more comprehensive, particularly given that so many consumers obtain news
from national sources and not local media. We can speak with them about a more narrow
release if that is important to your client.

Thank you for this response.

     13.Can you tell us more about how a “banner advertisement” on Intero’s website (Motion
        p. 9:2-4) will assist in notifying class members? Members of the class are, according to
        Plaintiff, persons who did not want to receive calls from Intero’s sales associates. We do
        not understand why they would have any reason to visit Intero’s website.

We think this is of value to increasing reach, but it is something we are willing to discuss and
compromise on if we can reach agreement on the other elements of the notice.

Thank you for this response.


Let us know if you would like to discuss further.

Thanks,
Kristen

             Kristen G. Simplicio ■ Of Counsel ■ TYCKO & ZAVAREEI LLP ■ www.tzlegal.com
             1828 L Street, NW ■ Suite 1000 ■ Washington, DC 20036
             p 202.973.0900 x109 ■ f 202.973.0950

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                                                   Exhibit 4
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From:                             Hassan Zavareei <hzavareei@tzlegal.com>
Sent:                             Wednesday, September 30, 2020 11:39 AM
To:                               Tomio Narita
Cc:                               Maggie Cardasis; Travis Campbell; Michael Reese; V
                                  Prentice; Mark Clifford; Sabita Soneji; Kristen Simplicio;
                                  Collin Hoover; George Granade
Subject:                          RE: Chinitz v. Intero - meet and confer re: Class Notice
                                  Plan


Tomio,

Thank you for your comments. We have spoken to the notice administrator and have some
additional thoughts for your consideration.

While I address your points below, I want to make a larger point regarding the notice plan as a
whole. To ensure a notice reach that comports with due process, our claims administrator has
designed a multi-faceted plan that includes: (1) sending direct notice to confirmed class members;
(2) casting a wider net by erring on the side to caution and sending notice to multiple addresses or
emails associated with a number where appropriate; and (3) supplementing via publication notice to
fill in any gaps, which includes not just providing notice to someone whose contact information
may not be found but also as a belts and suspenders approach to protect against things like an
overlooked email.

These three things work together. While we understand you have concerns about individual
components, those concerns are often addressed by other parts of the plan. In other words, the
best notice practicable under the circumstances relies on all three features of the plan being
adopted.

Further, in regard to you your comments regarding the potential for people who are not class
members to receive notice, it is common in class actions for notice to be disseminated to people
who are not in the class. For example, in product labeling cases, notice is nearly always done via
publication in major newspapers and magazines or social media, and may be viewed by millions of
people who never purchased the product. Unlike in food labeling cases, we have offered a way for
everyone who receives notice to confirm if they are an intended beneficiary of the notice, via a
lookup tool on the notice website.

With those points in mind, I have responded to your comments below in red.

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Best,

Hassan
-·
____________________________________________________________

               Hassan Zavareei ■ TYCKO & ZAVAREEI LLP ■ www.tzlegal.com
,...41 l       1828 L Street, NW ■ Suite 1000 ■ Washington, DC 20036
               p 202.973.0910 (direct dial) ■ f 202.973.0950 ■ @hzavareei

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From: Tomio Narita <TNarita@snllp.com>
Sent: Saturday, September 26, 2020 6:31 PM
To: Kristen Simplicio <ksimplicio@tzlegal.com>; Hassan Zavareei <hzavareei@tzlegal.com>; Sabita Soneji
<ssoneji@tzlegal.com>; Mark Clifford <mclifford@tzlegal.com>; V Prentice <vprentice@tzlegal.com>; Michael Reese
<mreese@reesellp.com>; George Granade <ggranade@reesellp.com>
Cc: Maggie Cardasis <MCardasis@snllp.com>; Travis Campbell <TCampbell@snllp.com>; Collin Hoover
<choover@tzlegal.com>; Tomio Narita <TNarita@snllp.com>
Subject: RE: Chinitz v. Intero - meet and confer re: Class Notice Plan

Hassan –

Thank you again for providing the Excel files: “09182020-Ticket 30 – All calls from ticket
14.csv” as well as “Class List Matched to Mojo Contact Records.xlsx.”

Now that we have this data, we are better able to meet and confer regarding Plaintiff’s
proposed class notice plan. Below are our positions/further questions regarding the plan. We
will also provide you separately with redline versions of the Attachments 2 through 4, and 6 to
Mr. Azari’s declaration. We do not agree to Attachment 5. We anticipate getting those
redlines to you mid-next week.

We look forward to receiving your redlines but do not understand your comment regarding
Attachment 5, which is the text for the online banners to be displayed on the internet via Google
Display Network and Facebook. If you disagree with the content, please propose alternative
language.

If you disagree with using online banners via Google Display Network and Facebook, what exactly
is your objection? As noted above and in response to your comments below, publication notice is
part of the plan to fill in gaps that cannot be achieved via direct notice. If you do not consent to
any indirect notice, do you have an alternative means of reaching a due process threshold your
client finds acceptable, given your concerns about direct notice?

Ensuring class members receive notice

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Plaintiff contends there are 68,918 telephone numbers that were dialed over the class period,
and Plaintiff says the Mojo data “indicate[s] possible names and physical addresses for
approximately half” of the numbers, and “email addresses associated with approximately
10,000 of the numbers.” Doc. No. 131 at ECF p. 6. Plaintiff also states that Mr. Azari “will run
reverse lookups on the phone numbers . . . to identify email and physical mailing addresses for
the Class Members.” Id.

You have informed us that TransUnion will perform the “reverse lookups” and that it is your
understanding that TU will be looking for the names, physical addresses and email address for
the called parties, as of the date of dial, and currently. You have also stated it is plaintiff’s
intention to “send email notice to every email address” in the Mojo calling records, as well as
every email returned by TransUnion, regardless of whether it is confirmed to be associated
with a class member. We see numerous problems with this “buckshot” approach to notice.

The proposed notice plan does give the Court any way to determine whether at least 70
percent of class members have been notified. The Court has made clear that only the
residential telephone subscriber for each number, or person(s) within the subscriber’s “zone
of interest” at the time of the allegedly violative calls, can be class members. Plaintiff’s plan
does not attempt to identify those persons and, therefore, there is no way to confirm whether
more than 70 percent will be given notice under the plan.

The plan does not even attempt to define who would fall within a subscriber’s “zone of
interest,” let alone explain how the plan is reasonably designed to provide notice to those
persons.

The proposed plan to indiscriminately send notice to every email address shown in the Mojo
call records, or returned by TransUnion, will necessarily result in notice being sent to huge
swaths of persons who are not class members. To our knowledge, neither Mojo nor
TransUnion has made any representation that the names associated with the phone numbers
are names of “residential telephone subscribers” or persons within their “zone of
interest.” Thus, the notice plan will do nothing to ensure that notice is being sent to class
members. As a result, we do not believe the plan as presently proposed would satisfy Rule
23(c)(2)(B).


First, as noted above, we see no issue with the potential for sending notice to non-class members.

Second, publication notice will also be issued, and thus to the extent the person impacted by the
violation does not receive direct notice, publication notice serves as a backstop.


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More importantly, however, your argument about how to identify and count all the people in the
zone of interest seems to be an academic argument made to elicit an admission that the “zone of
interest argument” is wrong or that the class cannot be maintained for some reason. We
understand your client is frustrated by how many courts have ruled on the “zone of interest” issue
and is interested in continually re-litigating it. But this is a meet and confer process that is taking
place outside of the context of the merits of this litigation, and we are not going to get bogged
down in technicalities and hypothetical scenarios over the possibility that a couple members of a
family plan swapped phone numbers one day.

To the extent there’s some scenario where Bob Smith’s name comes up as associated with the
number but his daughter used the phone on the date the call was received, we trust that the
household can communicate with one another, and where they can’t, we have added the notice via
publication. Claims administrators rarely know with certainty the precise number of class
members. In this case we know that there are roughly 69,000 phone numbers, a combination of
direct and publication notice will be provided to many more people than that to ensure that most
class members are informed using the same tools claims administrators routinely use.

Indeed, we have reviewed other TCPA notice plans and consulted with the claims administrators
about their practice, and are convinced that this reverse lookup process provides for the best notice
practicable under the circumstances. See, e.g., Larson v. Harman-Mgmt. Corp., No.
116CV00219DADSKO, 2019 WL 7038399, at *11 (E.D. Cal. Dec. 20, 2019) (approving settlement
notice where “settlement administrator [proposed] to review the A&W Text Club's messaging
records and then ‘perform a reverse lookup of class members’ current or last-known address
information, and [ ] then cross-reference this information with the United States Postal Services’
change of address database to confirm its accuracy.’”); Cabiness v. Educ. Fin. Sols., LLC, No. 16-CV-
01109-JST, 2018 WL 3108991, at *5 (N.D. Cal. June 25, 2018) (approving settlement class notice
where the “Settlement Administrator will use Defendant's call records and
‘a reverse lookup process through Lexis Nexis to attempt to obtain the name and address
associated with each cellular telephone number’ that was dialed during the relevant period.”).

That said, to the extent you are concerned, we can certainly agree that any direct or postcard notice
sent can include the phrase “and household” after the person’s name, which should encompass
users on a family plan. And of course, if you have an alterna tive suggestion that is more practicable
under the circumstances, please send it to us for our consideration.


Email vs. Mail Notice

Plaintiff proposes sending notice by email in the first instance, and states that “[i]f the
receiving email server cannot deliver the message, a ‘bounce code’ will be returned along with
the unique message identifier.” Doc. No. 132 at ECF p. 7. In those cases, Plaintiff proposes “at
least two additional attempts will be made to deliver the Notice by email.” The motion states
that if those emails bounce back or Mr. Azari is “unable to identify an email address through a
reverse lookup process,” he will mail a postcard.
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If email is to be used as part of the notice plan, we believe the class administrator can and
should confirm whether the email was, in fact, clicked on and opened by the recipient. You
pointed out that the “Mailbox Rule” works on the presumption that when mail is sent via the
United States Postal Service, and it is not returned to the sender, it is presumed the mail was
received. Email, however, is different. Unlike regular mail, it is possible to determine whether
an email was clicked on and opened. It is our position that if the only notice attempted is an
email, and we know that email was never clicked on and opened and therefore could not have
been read, this is not notice at all. It is certainly not the “the best notice that is practicable
under the circumstances” within the meaning of Rule 23(c)(2)(B).

Thus, if email is to be used as part of the notice plan, we believe that in each instance where
the email was not opened, Mr. Azari should mail a post card as outlined in Plaintiff’s
motion. Once again, as discussed above, to the extent Plaintiff proposes simply mailing
postcards to every address returned for every number, we do not believe the plan complies
with the rule.

We are concerned for the reasons already stated that your request would result in email notice
being held to a standard that regular mail is not. We see no reason to conclude that a person who
elects not to review legal notices received via email will read them if sent to their house, and thus,
this seems like an unnecessary step.

Would you prefer that we provide no email notice at all and simply send postcard notice to
everyone? In that case, will Intero pay for postcards for whom we have email addresses? Or
alternatively, will Intero pay for postcards to those who do not open their email?

If not, please send us some case law that supports your position that email notice must be done in
conjunction with read receipts and supplemental postcard notices for it to comport with Rule 23
for our consideration.

Finally, if there is text you wish to propose, such as a subject line, to ensure the email avoids spam
filters and is read by the recipients, please propose it for our consideration.

Website

We do not oppose establishing a “dedicated website with an easy-to-remember domain
name,” as Plaintiff proposes. Doc. No. 132 at ECF p. 8. We do object, however, to the two
domain names you proposed (www.InteroCallsLawsuit.com and
www.InteroDoNotCallClass.com). Both names wrongly imply that Defendant made the calls at
issue, when it is undisputed that Intero does not make these calls. They also improperly
suggest that Defendant is liable for the call attempts made by the dozens of real estate agents


                                                   5
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at issue, another point that Defendant vehemently disputes. We propose:
www.InteroClassAction.com.

We disagree with the conclusions you have drawn about the URLs, but we can agree to what you
have proposed.


Banner Advertisement

We do not see how placing a banner on Defendant’s website will assist in notifying class
members. According to Plaintiff, class members are persons who did not want to receive calls
from Defendant’s independent contractor sales associates. Under that logic, it is highly
unlikely class members would ever visit Defendant’s website. This proposal seems punitive
and is an apparent attempt to harm Defendant’s business reputation. As a result, we do not
agree to it.

We do not agree that this is punitive, and it was not intended to be so. Nonetheless, if we are able
to reach agreement on the other items this is something we can agree to dispense with.

Transparency

We again reiterate that both Defendant and, when nec essary, the Court, should have access to
every piece of data or document provided to, or returned by the class administrator, as well as
all data and information provided to, and received back from, TransUnion. We believe this
transparency is essential, because it is the Court’s obligation to ensure that the notice plan
comports with due process. Similarly, Defendant must be able to raise concerns about the
way the notice process is being handled and, if they cannot be resolved, bring them to the
Court’s attention. As a result, we ask again that Plaintiff commit to providing Defendant with
all data and documents that he ultimately provides to Mr. Azari and TransUnion, and any data
or documents returned by them.

Thank you.

While we do not intend to withhold important information, we are unaware of any case in which
the defendant has been permitted to intervene in the notice process to the degree that you are
proposing. Your request encompasses things like privileged communications with class members,
as well as routine correspondence between us and our vendor over billing matters, website design,
and general supervision of tasks. To comply, we would have to either copy you on these
communications (and instruct the claims administrator to do the same for internal work), or gather
and produce these documents on a rolling basis as well as log class member communications. This
is an unacceptable and unreasonable demand.


                                                  6
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As we have previously told you, we have been designated as adequate class counsel, and we implicit
in that is the court’s view that we as class counsel can and will take all appropriate steps to provide
notice to protect the class members’ due process rights. Moreover, as class counsel, we have to be
mindful that the class, who already experienced one privacy violation from Intero, may not wish to
have their lawyers turn over their current contact information to Intero.

On the other hand, while Intero has a due process interest in ensuring notice is adequately
provided, that is the purpose of the meet and confer on notice and related motion practice.
Meanwhile, as class counsel, we have a duty to the class to be mindful of the fact that Intero also
has a competing interest in suppressing claims and opt-out rates, and preventing class members
from speaking to counsel. We are further concerned that the notice process is being used to mine
for information that Intero will try to use to revisit settled debates over the zone of interest and
ascertainability. Intero’s abuse of this information could be used to the detriment of the class in
that it delays resolution and drives up attorney costs.

Thus, we cannot allow Intero to participate in the day to day management of claims administration.
And to the extent Intero is primarily seeking the information returned from Transunion after the
reverse look up, it is not clear what legitimate interest Intero has in the current addresses of class
members. While we will consider some summary reporting in the form of declarations by the
claims administrator, Intero should specify what information it needs, when, and why and we will
consider it in good faith. If there is something particular about the complete reverse look up results
that Intero needs, please explain what that is and why, for example, a declaration that states, e.g.,
the number of addresses located, postcards sent, etc, would not be sufficient, and we will consider
your request.

Thanks again for your comments. Despite our points of disagreement, we remain committed to
trying to reach an agreeable class notice plan. Let me know if there is a time this week you would
like to discuss anything in here.

Tomio B. Narita
Simmonds & Narita LLP
44 Montgomery Street, Suite 3010
San Francisco, California 94104
Direct line (415) 283.1010
Mobile (415) 519.6093
Main Line (415) 283.1000
Fax (415) 352.2625
email: tnarita@snllp.com
www.snllp.com
www.fdcpadefense.blogspot.com




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                                                   Exhibit 5
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To: [Class Member email address]
From: Intero Real Estate Calls Class Action Notice Administrator
Subject: Notice of Class Action
______________________________________________________

       A Court has directed that this Notice be mailed to you. You are not being sued.
              This Notice may affect your legal rights. Please read it carefully.

Records obtained in a pending class action lawsuit titled Chinitz v. Intero Real Estate
Services, No. 5:18-cv-05623-BLF (N.D. Cal.), indicate that you may have received phone
calls promoting goods or services of Intero Real Estate Services at a telephone number
registered on the National Do Not Call Registry. As a result, you may be a member of the
class in the case.

What is the lawsuit about? The lawsuit claims that Intero Real Estate Services (“Intero” or
“Defendant”), through its agents, violated the Telephone Consumer Protection Act (“TCPA”) because
certain of its California sales associates by calling theallegedly placed telephone calls to Plaintiff and as
many as approximately 69,000 others to solicit real estate business at telephone numbers registered on the
National Do Not Call Registry. Generally, tThe TCPA prohibits persons from placing more than one
telephone call within a 12-month span to a protected person when the telephone number is on the
National Do Not Call Registry. The TCPA authorizesentitles consumers protected persons who prove
they received illegal calls that violate the statute to recover money damages and get a court order stopping
the calls. Intero maintains that it does not make telephone calls to solicit real estate business. Intero
denies that it did anything wrong and denies that it is liable for the alleged calls at issue in this lawsuit.
The Court has not decided who is right. A trial is scheduled to begin on NovemberApril 15, 2021.

You received this notice because call records indicate you may be a Class Member. The Court has
ruled that this lawsuit is going forward as a class action. This means that the named Plaintiff in the case
will act as the Class Representative, trying to get money damages and court ordered changes to Intero’s
telemarketing alleged practices for everyone who is a Class Member.

You are a Class Member if: your telephone number was on the National Do Not Call Registry for at
least 31 days, and you received more than one telemarketing call within a 12-month period promoting
Intero’s goods or services on your non-business telephone phone number after September 13, 2014s that
was placed through Mojo Dialing Solutions, LLC (“Mojo”) and appears in one of 35 Mojo account files
identified by the Court, from a specific list of real estate agents promoting Intero’s goods or services after
September 13, 2014. Only calls from certainreflected in certain agents using the Mojo calling records
service are part of this case. You may have received other calls from other Intero sales associates agents
that are NOT currently covered by this case. By inputting your phone number(s) into the inquiry form
on the Case Website, you can find out whether you are a Class Member. Intero has reserved the right
to challenge your membership in the Class at a later date.

What are your options? If you are a Class Member, you must choose whether to stay in the Class. If you
stay in the Class, and money or benefits are obtained for the Class, you will be notified about how you
can what you must do to share in any benefits for which you are may be eligible. You will be bound by all
orders and judgments of the Court, whether favorable or not, and you won’t be able to sue the
DefendantsIntero for the calls and claims at issue in this case. If you want to stay in the Class, YOU DO
NOT HAVE TO DO ANYTHING NOW.

To exclude yourself from the Classlawsuit, you must send a letter asking to be excluded or visit [website].
Instructions
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for making this request can be found here at [website] or by calling toll-free XXX-XXX-XXXX. You
must
mail your exclusion request postmarked by [DATE] or make your request at [website] by that same date.
If you exclude yourself, you cannot get any money or benefits from this lawsuit, but you will not be
bound by any orders or judgments in this case. If you do not request exclusion, you may (but do not have
to) enter an appearance in the Court through your own counsel.

More information is available at [WEB ADDRESS] or by calling toll-free XXX-XXX-XXXX. The
Court has appointed the law firms of Tycko & Zavareei LLP and Reese LLP as Class Counsel, the
lawyers representing the Class.

Neither Intero personnel nor Intero agents are authorized to discuss this case with you. Please do
not call Intero about this case.
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                                                   Exhibit 6
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Legal Notice                                                                    Legal Notice
What is the lawsuit ahout?         The lawsuit claims that~ Real Estate Services ("~                   " or "Defendant''),tbrough-its
ageats,violated the Telephone Consumer Protection Act (1:'CPA") because certaui-oftts California sales assoc1ates
allegedly placed teleSih one calls to by caY:7 the Plaintiff and as ma.wt asa:l&proxuna§g 69,000 others to sohctt real
estate business at telep one numbers reg_istere on the National Do Not Call egistry.                     erally, tThe TCPA fuhibits
pel¥?llS from   ffila~     more than one telephone call within a 12-month s12an to protected persons if the num
registered -<:>n e ational Do Not Call R s r. Toe TCPA e&iitles authonzes 68BSWBe£s ~                          ted pawns wh o prove
                                                                                                                                    was

they receive                 s    v10 te e statute to r~e1ve money and _a court ?r~ to stop                   . ~ contends that it
does not make ~hone calls to solicrt real estate busmess.            fterp  deme1. that 1t d1d anY1:fli.np; wron.11: and denies that rt 1s
liable for the alleeff calls at issue in diis lawswt. The Cou.rt as not decided ,,,ho is nght. A trial is scheduled to begm
on ~ovem               15, 2021.
You received this notice because eaU Feeerds iBdisate y ou may be a Class Member. The Court has ruled that this
lawsmt can go fonvard as a class actmn. ·nus means that the .named Plamtdf (Konal~                              wtll act as the Class
Representat:J.ve, trymg to e:et money dama.e:es and court ordered changes to J.nt~             tel        .      all~ edNaactt.c es for
everyone who 1s a Class .Nlember. You are a Class Member if: your teleplioiie number was on e at1onal Do
   ot Call Kegistry for at least :; 1 days. and you received more t h a n ~ one call promotm.l! ~ eroji~ ds
or services son our non-busmess tel hone number after Se tember U , 2Drr1hat was -placed                                   ou       OJO
D1ahng Solutions.                  oo .                                                                              ·      ·
~eptemb& U . ;,mf4 and apraears ui the 3'.> Mo10 account files identified y the Court. y inputting y ou r phone
number into the websatei enhbed below, you can fmd out whether you are a Class Member. J,nte,ro has
reserved t h ~ t to challen_g_e your membership.
What are your options? If you are a Class Membec. you must choose whether to stay in the Class. If you stay in the
Class, and money or benefits are obramed for the Class, you will be notrlied about he:v.' yeu eaa'What you must do to
share m ~Y benefits tor whtch you ~mav be ehg1ble. You _w ill be bowid by all orders and Judgments of the C<?urt,
·whether favorable or not, and you won· t be able to sue the Defendant for the calls and claims at issue Ill thts case. lt you
want to stay m the Class. YOU UO"NO'J' HA V.I!: ·ro DU ANYTHING OW.

~:nd@da
To exclude yourself from the Classlawsmt, you m0!a seeEi a letter ~ he eKE:rudeci aec~
request .
                     VI.Slt the webs1t.e for U1Struct10ns or call the toll-free num
                                                                                                                        te iastructioas
                                                                                          below. You must ma:11 your exclusion
                 · ed 6 , LJJATJ!;J. lfyou exclude yoursel( you carmot get any money or benefits from tfus lawsuit, but
you \.\I'll notbebo~:Pbv any orders or jUdgments m the case. lf you do not request exclusion., you may \but do not have
to) enter an ~ pearance in the Court through yow- own counsel. The Court has appomted two ti:rms as~l.ass Couesel,
the laN1yers~r the Class :L'\!£.kn & liaY.ar.~i LLP and .Keese LLP as Class counsel. Neither ~                              personnel
nor .m~m      agents are aut.honzeif1o disciisslJiis case with you. Please do not call Jiimm about the case. .For more
mtormatton, V1S1t or call:
                                             web addressl            •      toll - free number
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                                   Chinitz v. Intero Real Estate Services
                                                                                                                                                       FIRST-CLASS MAIL
                                   Class Action Administrator                                                                                            U.S. POSTAGE
                                   PO Box XXXX                                                                                                                PAID
                                   Portland, OR 97208-XXXX                                                                                                Portland, OR
                                                                                                                                                        PERMIT NO. 2882

                                      Court-Ordered Legal
                                              Notice                                                 Important Notice about a
                                    This Notice may affect your                                        Class Action Lawsuit
                                           legal rights.
                                     Please read it carefully.

                                       Records obtained in this                              11111111111111111111111111111111 1111111111111111111111111111111111111111111
                                     lawsuit show that you may
                                    have received calls promoting                                   John Q.
                                     goods or services of Intero                                    Public 123
                                       Real Estate Services at a                                    Locust St.
                                      telephone number on the                                       Anytown, OH 00000-0000
                                        National Do Not Call
                                    Registry. As a result, you may
                                      be a member of a pending
                                         class action lawsuit.


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                                                   Exhibit 7
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                  IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA


      If your telephone number was on the National Do Not
          Call Registry and you received telephone calls
        promoting goods or services of Intero Real Estate
       Services, a pending class action lawsuit may affect
                            your rights.
                            A court authorized this notice. This is not a solicitation.
   The lawsuit claims that Intero Real Estate Services (“Intero” or “Defendant”), through its agents,
    violated the Telephone Consumer Protection Act (“TCPA”) because certain of its California sales
    associates allegedly placed telephone calls to by calling the Plaintiff and as many asapproximately
    69,000 others to solicit real estate business at telephone numbers registered on the National Do Not
    Call Registry. Generally, tThe TCPA prohibits persons from placing more than one telephone call within
    a 12-month span to protected persons who registered their telephone number on the National Do Not
    Call Registry. The TCPA entitles consumers whoentitles protected persons to prove they received
    illegal calls that violated the statute to recover money damages and get a court order stopping the calls.
    Intero contends that it does not make telephone calls to solicit real estate business . Intero denies all
    allegations of wrongdoing, including specifically that they violated the TCPA. To the extent any calls
    at issue in this lawsuit are found to have violated the TCPA, Intero denies that it is liable for those calls.
   The current lawsuit affects those in the United States who received more than one call within a 12-
    month period at any time since September 13, 2014, made by or on behalf of Intero or one of its
    California sales associates to their non-business telephone numbers that (1) were on the National Do
    Not Call Registry (“NDNCR”) for at least 31 days prior to the Intero calls, and (2) appear on a list of
    around 69,000 numbers called by certain agents sales associates through the Mojo Dialing Solutions,
    LLC, calling platform. Those included are “Class Members,” defined more fully in the answer to
    Question 11, below.
   This notice is being provided to you in advance of a trial. Intero denies all allegations of wrongdoing,
    and no judge or jury has concluded that Intero did anything wrong. For this reason, there is no money
    available now, and there is no guarantee there ever will be. If you are a Class Member, however, you have
    a choice to make now:

                                          YOUR LEGAL RIGHTS AND OPTIONS
                               Stay in this lawsuit. Await the outcome. Give up the right to sue
                               separately.

     DO NOTHING                If you are a Class Member and do nothing, you may be entitled to money
                               and/or benefits that may come from a trial or a settlement of the lawsuit.
                               But you will never be able to sue Intero separately over the legal claims in
                               this lawsuit and will be bound by any judgment.




                        QUESTIONS? CALL [TOLL FREE NUMBER] OR VISIT [WEB ADDRESS]
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                                          Get out of this lawsuit. Get no benefits from it if any are
                                          ultimately awarded. Keep the right to sue separately.

     ASK TO BE EXCLUDED                   If you ask to be excluded from the lawsuit and money or benefits are later
                                          awarded, you won’t be eligible to share in that money or those benefits. But
                                          you will keep any rights to sue Intero separately over the legal claims in this
                                          lawsuit.

   Your options are explained in this notice. To ask to be excluded, you must act before [DATE].
   To prevail in the lawsuit, the Plaintiff must prove the claims against Intero at a trial scheduled to begin
    on April November 15, 2021. If you do not ask to be excluded and money or benefits are obtained from
    Intero, you will be notified about how to receive yourwhat you must do to share in any money or
    benefits for which you are eligible, if any.


                                                    WHAT THIS NOTICE CONTAINS

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          2. What is a class action?
          3. Is there any money available now?

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          4.    What is this lawsuit about?
          5.    What is the Plaintiff asking for?
          6.    What does the Defendant say?
          7.    Has the Court decided who is right?

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          8. How do I know if I am part of this Class?
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                               QUESTIONS? CALL [TOLL FREE NUMBER] OR VISIT [WEB ADDRESS]
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       QUESTIONS? CALL [TOLL FREE NUMBER] OR VISIT [WEB ADDRESS]
                                    3
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                                        BASIC INFORMATION
  1. Why was this notice issued?
 A Court has authorized this Notice to let you know that the Court has established (or “certified”) a
 class action lawsuit that may affect you. You have legal rights and options that you may exercise, as
 explained in this Notice.
 Judge Beth Labson Freeman of the United States District Court for the Northern District of California
 (the “Court”), is currently overseeing the case. The case is known as Chinitz v. Intero Real Estate
 Services, Case No. 5:18-cv-05623-BLF (N.D. Cal.). The person who sued is called the Plaintiff. The
 company the Plaintiff is suing, Intero, is called the Defendant.

  2. What is a class action?
 In a class action, a person called the “Class Representative” (in this case, Ronald Chinitz) sues on
 behalf of a group (or groups) of people who have similar claims. Together, the Representative and
 others with similar claims are all “Class Members” and are all part of the same “Class.” One Court
 resolves the issues for all Class Members, except for those who exclude themselves from the Class.
 The Court decided that certainthe claims in this lawsuit can proceed as a class action. More
 information about why the Court is allowing this claim to proceed as a class action is in the Court’s
 Order Granting Plaintiff’s Motion for Class Certification, which you may view at [WEB ADDRESS].

  3. Is there any money available now?
 No money or benefits are available now because the Court has not decided whether Intero did
 anything wrong, and the two sides have not settled the case. There is no guarantee that money or
 benefits will ever be obtained. If money or benefits become available, Class Members may have to

I - _ _ _ _ _ _ _-
 take other steps, such as submitting a claim form or provide other evidence, in order to get
 theirdetermine whether they are eligible to recover any money or benefits shares. If so, you will be
 notified of any additional steps you must take. You can stay informed of the progress of this case by
 visiting the website [WEB ADDRESS] or by calling [TOLL FREE NUMBER].

                                  WHAT THE LAWSUIT IS ABOUT
  4. What is this lawsuit about?
 In the Class Action Complaint (available at the website), Plaintiff claims that he and others received
 multiple telemarketing sales calls made by or on behalf of Intero’s California sales associates
 promoting Intero’s services, despite their telephone numbers being on the National Do Not Call
 Registry.
 The lawsuit claims that, because of these calls, Intero violated the Federal Telephone Consumer
 Protection Action, 47 U.S.C. § 227 (“TCPA”). Generally speaking, tThe TCPA prohibits unwanted
 telemarketing calls to protected persons people placed to phone numbers registered on the National
 Do Not Call Registry and provides for monetary damages for each call made in violation of the statute.

  5. What is the Plaintiff asking for?
 The Plaintiff is asking the Court to award each Class Member monetary damages of $500 per violative
 telemarketing call received regarding Intero after September 13, 2014. If Plaintiff is able to show that
 Intero “willfully” violated the TCPA and is liable for its agents’ calls, he will ask for up to $1,500 in
 monetary damages for each violative telemarketing call. Plaintiff is also asking the Court to enter an
 order prohibiting Intero from violating the TCPA in the future.

                    QUESTIONS? CALL [TOLL FREE NUMBER] OR VISIT [WEB ADDRESS]
                                                 4
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More information about the lawsuit is in the Class Action Complaint, which you may view at [WEB
ADDRESS].

 6. What does the Defendant say?
Intero has denied all of the Plaintiff’s allegations and maintains it did nothing wrong and/or illegal
and is not obligated to pay any money to any Class Members.
More information about what Intero says is in Intero’s Answer and Defenses to Plaintiff’s Class Action
Complaint, which you may view at [WEB ADDRESS].

 7. Has the Court decided who is right?
No. The Court has not decided whether the Plaintiff or the Defendant is right. By certifying the Classes
and issuing this Notice, the Court is not suggesting that the Plaintiff will win or lose this case. Unless
the case settles, Plaintiff must prove the Class’s claims at a trial or through legal motions to recover
money.

                                       WHO IS IN THE CLASS
 8. How do I know if I am part of this Class?
The Court has decided that everyone who fits the following description is a Class Member:
   All persons in the United States who: (a) received more than one call made on behalf of Intero
   by, or on behalf of, one of Intero’s California sales associates; (b) promoting Intero’s goods or
   services; (c) that was placed through the dialing platform provided by Mojo Dialing Solutions,
   Inc., the calling records for which appear in one of 35 account files, identified in Appendix A;
   (d) in a 12-month period; (e) on their non-business telephone lines; (f) whose telephone
   number(s) were on the NDNCR for at least 31 days; (g) at any time since September 13,
   2014.All persons in the United States who: (a) received more than one call made on behalf of
   Intero by, or on behalf of, one of Intero’s California sales associates; (b) promoting Intero’s
   goods or services; (c) that was placed through the dialing platform provided by Mojo Dialing
   Solutions, Inc., the calling records for which appear in one of 35 account files; (d) in a 12-
   month period; (e) on their non-business telephone lines; (f) whose telephone number(s) were
   on the NDNCR for at least 31 days; (g) at any time since September 13, 2014.
You are a Class Member if: you received more than one call within a 12-month period at any time
after September 13, 2014, made by or on behalf of Intero to your non-business telephone number that
(1) was on the National Do Not Call Registry (“NDNCR”) for at least 31 days prior to the Intero calls,
and (2) appears on a list of 69,000 telephone numbers called by or on behalf of certain Intero agents
sale associates through the Mojo Dialing Solutions, Inc. (“Mojo”), calling platform.
If you were identified based upon your telephone number as it appeared in Intero’s the Mojo call
records, you likely have received an email or postcard in the mail notifying you of this class action. If
you did not receive an email or postcard in the mail, you may still be part of the Class if your telephone
number appears in the Mojo call records.
You can check whether you and your telephone number(s) are part of the Class by inputting your
phone number(s) on the Case Website at [WEB ADDRESS]. Intero has reserved the right to challenge
your class membership at a later date.
Note: Only calls made by certain Intero agents using the Mojo dialing service are
included in this case. You may have been called by other Intero agents or by Intero agents sales
associates who did not use Mojo to call you; those calls are not presently part of this class action. If
you have questions, please contact Class Counsel using the Case Website contact form or at 1-xxx-
xxx-xxxx.

                   QUESTIONS? CALL [TOLL FREE NUMBER] OR VISIT [WEB ADDRESS]
                                                5
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 9. I’m still not sure if I am included in the Class.
If you are still not sure if you are included in the Class, you can email the Class Action Administrator
at [NOTICE ADMIN EMAIL] or call [TOLL FREE NUMBER].
You can also receive free help by calling the lawyers in this case at 1-xxx-xxx-xxxx or by inputting your
contact information in the inquiry form available at the Case Website at [WEB ADDRESS].
Intero personnel, Intero agents, and Intero counsel are NOT authorized to discuss this
case with you. Please do NOT call Intero about this case. Please direct all inquiries to
Class Counsel.

                                   YOUR RIGHTS AND OPTIONS
If you are a Class Member, you must decide whether to stay in the Class or whether to exclude yourself
before a possible trial. You have to decide this no later than [DATE].

 10. What happens if I do nothing at all?
If you are a Class Member and do nothing, you will stay in the Class. If you stay in, you will be legally
bound by all the decisions that the Court makes. If you stay in the Class and the Plaintiff obtains
money or benefits, either as a result of trial or settlement, you will be notified about how to apply for
a share (or how to ask to be excluded from any settlement). Regardless of the outcome of the lawsuit,
however, if you do nothing, and thereby remain in the Class, you will never be able to sue (or continue
to sue) Intero about the same legal claims that are the subject of this case.

 11. What happens if I exclude myself?
If you exclude yourself from the Class—sometimes called “opting out” of the Class—you won’t get any
money or benefits from this lawsuit if any are awarded or obtained as a result of the trial, legal
motions, or any settlement (that may or may not be reached) between Intero and the Plaintiff.
However, you will be able to separately start your own lawsuit against, or continue to separately sue,
Intero for the calls at issue in this case. If you exclude yourself, you will not be legally bound by the
Court’s judgments in this class action.
If you already have started or wish to start your own lawsuit against Intero for the same types of calls
made during the same time period and want to continue with it, you need to ask to be excluded from
the Class. If you start your own lawsuit against Intero after you exclude yourself, you’ll have to hire
and pay your own lawyer for that lawsuit, and you’ll have to prove your claims.

 12. How do I request to be excluded?
To exclude yourself from the Class, you must send a letter with the following information:
    Your name and address;
    The phone number(s) that you received Intero calls at;
    A statement that you wish to be excluded from the Class in Chinitz v. Intero Real Estate
       Services, Case No. 5:18-cv-05623-BLF (N.D. Cal.); and
    Your signature.
You may also visit [website] and follow the instructions on the website to exclude yourself. You must
mail your exclusion request postmarked by [DATE], to:
                                Chinitz v. Intero Real Estate Exclusions
                                             P.O. Box XXXX
                                      Portland, OR 97208-XXXX



                   QUESTIONS? CALL [TOLL FREE NUMBER] OR VISIT [WEB ADDRESS]
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                          THE LAWYERS REPRESENTING THE CLASS
 13. Do I have a lawyer in this case?
Yes. The Court appointed the law firms of Tycko & Zavareei LLP and Reese LLP to represent you and
all Class Members in this case. They are called “Class Counsel.” They are experienced in handling
similar class action cases.
You do not need to hire your own lawyer because Class Counsel is working on your behalf. You do not
have to pay Class Counsel out of your own pocket.
You may seek the advice and guidance of your own lawyer, if you wish, at your own expense.
You can contact Class Counsel by filling out a contact form on the Case Website at [WEB ADDRESS]
or by calling 1-xxx-xxx-xxxx.

 14. How will the Class Counsel be paid?
If Class Counsel obtains money or benefits for the Class, they may ask the Court for attorneys’ fees
and expenses. You will not have to pay these fees and expenses out of your own pocket. If the Court
grants Class Counsel’s request, the fees and expenses would generally be deducted from any money
obtained for the Class or paid separately by Intero.

 15. May I get my own lawyer?
If you are in the Class, you do not need to hire your own lawyer because Class Counsel is working on
your behalf. But if you want your own lawyer, you are entitled to retain one at your own expense.

                                               A TRIAL
 16. How and when will the Court decide who is right?
If the case is not decided through legal motions or settled, Class Counsel will have to prove Plaintiff’s
claims at a trial scheduled to begin on NovemberApril 15, 2021. During the trial, the judge and/or
jury will hear evidence in order to determine whether the Plaintiff or the Defendant is right about the
claims in the lawsuit. There is no guarantee that the Plaintiff will win or obtain any money or benefits
for the Class.

 17. Do I have to come to the trial?
You do not need to attend the trial. Class Counsel will present the case for Plaintiff and the Class, and
Intero will present its defenses. You and/or your own lawyer are welcome to attend at your own
expense. If you are interested in attending, please check the website or call the toll-free number and
ask to be kept informed of the trial schedule.

 18. Will I get money after the trial?
If the Plaintiff obtains money or benefits for the Class as a result of trial or settlement, you will be
notified about how to submit a claim for a portion of the benefits. We do not know how long this will
take. Information will be posted on the website [WEB ADDRESS] as it becomes available. You can
access the website whether you stay in the lawsuit or exclude yourself.




                   QUESTIONS? CALL [TOLL FREE NUMBER] OR VISIT [WEB ADDRESS]
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                                GETTING MORE INFORMATION
 19. Where can I get more information?
The Case Website at [WEB ADDRESS] contains several court documents that provide additional
information about this case, including the Court’s Order Granting Plaintiff’s Motion for Class
Certification, the Class Action Complaint filed by the Plaintiff, and Intero’s Answer and Defenses to
Plaintiff’s Class Action Complaint. This website will be updated with the most current information
about the lawsuit as it becomes available.
At the website, you may insert your contact information and make an inquiry to Class Counsel.
You may also call toll free at [TOLL FREE NUMBER] or write to Chinitz v. Intero Class Action
Administrator, PO Box XXXX, Portland, OR 97208-XXXX.
You may call Class Counsel at 1-xxx-xxx-xxxx, if you have any questions. Before doing so, however,
please read this full Notice carefully.
Intero personnel, Intero agents, and Intero counsel are NOT authorized to discuss this
case with you. Please do NOT call Intero about this case. Please direct all inquiries to
Class Counsel.




                  QUESTIONS? CALL [TOLL FREE NUMBER] OR VISIT [WEB ADDRESS]
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